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                          United States District Court
                         Southern District of New York


VIRGINIA L. GIUFFRE,

            Plaintiff,                CASE NO:_____________________


v.

GHISLAINE MAXWELL,

            Defendant.

________________________________/

                                    COMPLAINT




                                            Boies Schiller & Flexner LLP
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                                            New York, NY 10022
                                            (212) 446-2300




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                   Plaintiff, VIRGINIA L. GIUFFRE, formerly known as Virginia Roberts

(“Giuffre”), for her Complaint against Defendant, GHISLAINE MAXWELL (“Maxwell”), avers

upon personal knowledge as to her own acts and status and otherwise upon information and

belief:

                                     NATURE OF THE ACTION

          1.       This suit arises out of Defendant Maxwell’s defamatory statements against

Plaintiff Giuffre. As described below, Giuffre was a victim of sexual trafficking and abuse while

she was a minor child. Defendant Maxwell not only facilitated that sexual abuse but, most

recently, wrongfully subjected Giuffre to public ridicule, contempt and disgrace by, among other

things, calling Giuffre a liar in published statements with the malicious intent of discrediting and

further damaging Giuffre worldwide.

                                    JURISDICTION AND VENUE

          2.       This is an action for damages in an amount in excess of the minimum

jurisdictional limits of this Court.

          3.       This Court has jurisdiction over this dispute pursuant to 28 U.S.C. §1332

(diversity jurisdiction) as Giuffre and Maxwell are citizens of different states and the amount in

controversy exceeds seventy-five thousand ($75,000), exclusive of interest and costs.

          4.       This Court has personal jurisdiction over Maxwell. Maxwell resides in New York

City, and this action arose, and defamatory statements were made, within the Southern District of

New York.

          5.       Venue is proper in this Court as the cause of action arose within the jurisdiction of

this Court.




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                                             PARTIES

       6.       Plaintiff Giuffre is an individual who is a citizen of the State of Colorado.

       7.       Defendant Maxwell, who is domiciled in the Southern District of New York, is

not a citizen of the state of Colorado.

                                   FACTUAL ALLEGATIONS

       8.       Virginia Giuffre became a victim of sex trafficking and repeated sexual abuse

after being recruited by Ghislaine Maxwell and Jeffrey Epstein when Giuffre was under the age

of eighteen.

       9.       Between 1999 and 2002, with the assistance and participation of Maxwell,

Epstein sexually abused Giuffre at numerous locations including his mansions in West Palm

Beach, Florida, and in this District. Between 2001 and 2007, with the assistance of numerous

co-conspirators, Epstein abused more than thirty (30) minor underage girls, a fact confirmed by

state and federal law enforcement.

       10.      As part of their sex trafficking efforts, Epstein and Maxwell intimidated Giuffre

into remaining silent about what had happened to her.

       11.      In September 2007, Epstein entered into a Non-Prosecution Agreement (“NPA”)

that barred his prosecution for numerous federal sex crimes in the Southern District of Florida.

       12.      In the NPA, the United States additionally agreed that it would not institute any

federal criminal charges against any potential co-conspirators of Epstein.

       13.      As a co-conspirator of Epstein, Maxwell was consequently granted immunity in

the Southern District of Florida through the NPA.

       14.      Epstein ultimately pled guilty to procuring a minor for prostitution, and is now a

registered sex offender.



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       15.     Rather than confer with the victims about the NPA, the U.S. Attorney’s Office

and Epstein agreed to a “confidentiality” provision in the Agreement barring its disclosure to

anyone—including Epstein’s victims. As a consequence, the victims were not told about the

NPA.

       16.     On July 7, 2008, a young woman identified as Jane Doe No. 1, one of Jeffrey

Epstein’s victims (other than Giuffre), filed a petition to enforce her rights under the Crime

Victims’ Rights Act (“CVRA”), 18 U.S.C. ¶ 3771, alleging that the Government failed to

provide her the rights promised in the CVRA with regard to the plea arrangement with Epstein.

The litigation remains ongoing.

       17.     On or about May 4, 2009, Virginia Giuffre—identified then as Jane Doe No.

102—filed a complaint against Jeffrey Epstein in the United States District Court for the

Southern District of Florida. The complaint included allegations made by Giuffre that pertained

to Maxwell.

       18.     In pertinent part, the Jane Doe No. 102 complaint described in detail how

Maxwell recruited Giuffre (who was then a minor girl) to become a victim of sex trafficking by

introducing Giuffre to Jeffrey Epstein. With the assistance of Maxwell, Epstein was able to

sexually abuse Giuffre for years until Giuffre eventually escaped.

       19.     The Jane Doe No. 102 complaint contained the first public allegations made on

behalf of Giuffre regarding Maxwell.

       20.     As civil litigation against Epstein moved forward on behalf of Giuffre and many

other similarly-situated victims, Maxwell was served with a subpoena for deposition. Her

testimony was sought concerning her personal knowledge and role in Epstein’s abuse of Giuffre

and others.



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        21.     To avoid her deposition, Maxwell claimed that her mother fell deathly ill and that

consequently she was leaving the United States for London with no plans of ever returning. In

fact, however, within weeks of using that excuse to avoid testifying, Maxwell had returned to

New York.

        22.     In 2011, two FBI agents located Giuffre in Australia—where she had been hiding

from Epstein and Maxwell for several years—and arranged to meet with her at the U.S.

Consulate in Sidney. Giuffre provided truthful and accurate information to the FBI about

Epstein and Maxwell’s sexual abuse.

        23.     Ultimately, as a mother and one of Epstein’s many victims, Giuffre believed that

she should speak out about her sexual abuse experiences in hopes of helping others who had also

suffered from sexual trafficking and abuse.

        24.     On December 23, 2014, Giuffre incorporated an organization called Victims

Refuse Silence, Inc., a Florida not-for-profit corporation.

        25.     Giuffre intended Victims Refuse Silence to change and improve the fight against

sexual abuse and human trafficking. The goal of her organization was, and continues to be, to

help survivors surmount the shame, silence, and intimidation typically experienced by victims of

sexual abuse.    Giuffre has now dedicated her professional life to helping victims of sex

trafficking.

        26.     On December 30, 2014, Giuffre moved to join the on-going litigation previously

filed by Jane Doe 1 in the Southern District of Florida challenging Epstein’s non-prosecution

agreement by filing her own joinder motion.




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       27.      Giuffre’s motion described Maxwell’s role as one of the main women who

Epstein used to procure under-aged girls for sexual activities and a primary co-conspirator and

participant in his sexual abuse and sex trafficking scheme.

       28.      In January, 2015, Maxwell undertook a concerted and malicious campaign to

discredit Giuffre and to so damage her reputation that Giuffre’s factual reporting of what had

happened to her would not be credited.

       29.      As part of Maxwell’s campaign she directed her agent, Ross Gow, to attack

Giuffre’s honesty and truthfulness and to accuse Giuffre of lying.

       30.      On or about January 3, 2015, speaking through her authorized agent, Maxwell

issued an additional false statement to the media and public designed to maliciously discredit

Giuffre. That statement contained the following deliberate falsehoods:

       (a)      That Giuffre’s sworn allegations “against Ghislaine Maxwell are untrue.”

       (b)      That the allegations have been “shown to be untrue.”

       (c)      That Giuffre’s “claims are obvious lies.”

      31.       Maxwell’s January 3, 2015, statement incorporated by reference “Ghislaine

Maxwell’s original response to the lies and defamatory claims remains the same,” an earlier

statement that had falsely described Giuffre’s factual assertions as “entirely false” and “entirely

untrue.”

      32.       Maxwell made the same false and defamatory statements as set forth above, in the

Southern District of New York and elsewhere in a deliberate effort to maliciously discredit

Giuffre and silence her efforts to expose sex crimes committed around the world by Maxwell,

Epstein, and other powerful persons. Maxwell did so with the purpose and effect of having




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others repeat such false and defamatory statements and thereby further damaged Giuffre’s

reputation.

       33.     Maxwell made her statements to discredit Giuffre in close consultation with

Epstein. Maxwell made her statements knowing full well they were false.

       34.     Maxwell made her statements maliciously as part of an effort to conceal sex

trafficking crimes committed around the world by Maxwell, Epstein and other powerful persons.

       35.     Maxwell intended her false and defamatory statements set out above to be

broadcast around the world and to intimidate and silence Giuffre from making further efforts to

expose sex crimes committed by Maxwell, Epstein, and other powerful persons.

       36.     Maxwell intended her false statements to be specific statements of fact, including

a statement that she had not recruited an underage Giuffre for Epstein’s abuse. Maxwell’s false

statements were broadcast around the world and were reasonably understood by those who heard

them to be specific factual claims by Maxwell that she had not helped Epstein recruit or sexually

abuse Giuffre and that Giuffre was a liar.

       37.     On or about January 4, 2015, Maxwell continued her campaign to falsely and

maliciously discredit Giuffre. When a reporter on a Manhattan street asked Maxwell about

Giuffre’s allegations against Maxwell, she responded by saying: “I am referring to the statement

that we made.” The New York Daily News published a video of this response by Maxwell

indicating that she made her false statements on East 65th Street in Manhattan, New York, within

the Southern District of New York.




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                                             COUNT I
                                           DEFAMATION

       1.        Plaintiff Giuffre re-alleges paragraphs 1 - 37 as if the same were fully set forth

herein. Maxwell made her false and defamatory statements deliberately and maliciously with the

intent to intimidate, discredit and defame Giuffre.

        2.       In January 2015, and thereafter, Maxwell intentionally and maliciously released to

the press her false statements about Giuffre in an attempt to destroy Giuffre’s reputation and

cause her to lose all credibility in her efforts to help victims of sex trafficking.

        3.       Maxwell additionally released to the press her false statements with knowledge

that her words would dilute, discredit and neutralize Giuffre’s public and private messages to

sexual abuse victims and ultimately prevent Giuffre from effectively providing assistance and

advocacy on behalf of other victims of sex trafficking, or to expose her abusers.

        4.       Using her role as a powerful figure with powerful friends, Maxwell’s statements

were published internationally for the malicious purpose of further damaging a sexual abuse and

sexual trafficking victim; to destroy Giuffre’s reputation and credibility; to cause the world to

disbelieve Giuffre; and to destroy Giuffre’s efforts to use her experience to help others suffering

as sex trafficking victims.

        5.       Maxwell, personally and through her authorized agent, Ross Gow, intentionally

and maliciously made false and damaging statements of fact concerning Giuffre, as detailed

above, in the Southern District of New York and elsewhere.

        6.       The false statements made by Gow were all made by him as Maxwell’s

authorized agent and were made with direct and actual authority from Maxwell as the principal.




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       7.       The false statements that Maxwell made personally, and through her authorized

agent Gow, not only called Giuffre’s truthfulness and integrity into question, but also exposed

Giuffre to public hatred, contempt, ridicule, and disgrace.

       8.       Maxwell made her false statements knowing full well that they were completely

false. Accordingly, she made her statements with actual and deliberate malice, the highest

degree of awareness of falsity.

       9.       Maxwell’s false statements constitute libel, as she knew that they were going to

be transmitted in writing, widely disseminated on the internet and in print. Maxwell intended her

false statements to be published by newspaper and other media outlets internationally, and they

were, in fact, published globally, including within the Southern District of New York.

       10.      Maxwell’s false statements constitute libel per se inasmuch as they exposed

Giuffre to public contempt, ridicule, aversion, and disgrace, and induced an evil opinion of her in

the minds of right-thinking persons.

       11.      Maxwell’s false statements also constitute libel per se inasmuch as they tended to

injure Giuffre in her professional capacity as the president of a non-profit corporation designed

to help victims of sex trafficking, and inasmuch as they destroyed her credibility and reputation

among members of the community that seeks her help and that she seeks to serve.

       12.      Maxwell’s false statements directly stated and also implied that in speaking out

against sex trafficking Giuffre acted with fraud, dishonesty, and unfitness for the task.

Maxwell’s false statements directly and indirectly indicate that Giuffre lied about being recruited

by Maxwell and sexually abused by Epstein and Maxwell. Maxwell’s false statements were

reasonably understood by many persons who read her statements as conveying that specific

intention and meaning.



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         13.   Maxwell’s false statements were reasonably understood by many persons who

read those statements as making specific factual claims that Giuffre was lying about specific

facts.

         14.   Maxwell specifically directed her false statements at Giuffre’s true public

description of factual events, and many persons who read Maxwell’s statements reasonably

understood that those statements referred directly to Giuffre’s account of her life as a young

teenager with Maxwell and Epstein.

         15.   Maxwell intended her false statements to be widely published and disseminated

on television, through newspapers, by word of mouth and on the internet. As intended by

Maxwell, her statements were published and disseminated around the world.

         16.    Maxwell coordinated her false statements with other media efforts made by

Epstein and other powerful persons acting as Epstein’s representatives and surrogates. Maxwell

made and coordinated her statements in the Southern District of New York and elsewhere with

the specific intent to amplify the defamatory effect those statements would have on Giuffre’s

reputation and credibility.

         17.   Maxwell made her false statements both directly and through agents who, with

her general and specific authorization, adopted, distributed, and published the false statements on

Maxwell’s behalf. In addition, Maxwell and her authorized agents made false statements in

reckless disregard of their truth or falsity and with malicious intent to destroy Giuffre’s

reputation and credibility; to prevent her from further disseminating her life story; and to cause

persons hearing or reading Giuffre’s descriptions of truthful facts to disbelieve her entirely.

Maxwell made her false statements wantonly and with the specific intent to maliciously damage

Giuffre’s good name and reputation in a way that would destroy her efforts to administer her



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non-profit foundation, or share her life story, and thereby help others who have suffered from

sexual abuse.

       18.      As a result of Maxwell’s campaign to spread false, discrediting and defamatory

statements about Giuffre, Giuffre suffered substantial damages in an amount to be proven at trial.

       19.      Maxwell’s false statements have caused, and continue to cause, Giuffre economic

damage, psychological pain and suffering, mental anguish and emotional distress, and other

direct and consequential damages and losses.

       20.      Maxwell’s campaign to spread her false statements internationally was unusual

and particularly egregious conduct. Maxwell sexually abused Giuffre and helped Epstein to

sexually abuse Giuffre, and then, in order to avoid having these crimes discovered, Maxwell

wantonly and maliciously set out to falsely accuse, defame, and discredit Giuffre. In so doing,

Maxwell’s efforts constituted a public wrong by deterring, damaging, and setting back Giuffre’s

efforts to help victims of sex trafficking. Accordingly, this is a case in which exemplary and

punitive damages are appropriate.

       21.      Punitive and exemplary damages are necessary in this case to deter Maxwell and

others from wantonly and maliciously using a campaign of lies to discredit Giuffre and other

victims of sex trafficking.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Giuffre respectfully requests judgment against Defendant

Maxwell, awarding compensatory, consequential, exemplary, and punitive damages in an

amount to be determined at trial, but in excess of the $75,000 jurisdictional requirement; costs of

suit; attorneys’ fees; and such other and further relief as the Court may deem just and proper.




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                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury on all causes of action asserted within this

pleading.

       Dated September 21, 2015.


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